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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

KEITH CAULEY, M.D., Ph.D,                    No. 4:21-CV-00045

            Plaintiff,                       (Chief Judge Brann)

      v.

GEISINGER CLINIC,

            Defendant.

                                  ORDER

                             JANUARY 27, 2022

     In accordance with the accompanying Memorandum Opinion, IT IS

HEREBY ORDERED that Defendant Geisinger Clinic’s Motion to Dismiss the

Second Amended Complaint (Doc. 24) is GRANTED IN PART, DENIED IN

PART as follows:

     1.    Geisinger’s motion to dismiss Count II of the Second Amended

           Complaint (Promissory Estoppel) is DENIED.

     2.    Geisinger’s motion to dismiss Count III of the Second Amended

           Complaint (Intentional Misrepresentation) is GRANTED WITH

           PREJUDICE.

     3.    Geisinger motion to dismiss Count IV of the Second Amended

           Complaint (Defamation) is GRANTED WITHOUT PREJUDICE.
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    If Plaintiff Keith Cauley, M.D., Ph.D., elects to plead over, he must

    file the amended complaint on or before February 17, 2022.



                                    BY THE COURT:


                                    s/ Matthew W. Brann
                                    Matthew W. Brann
                                    Chief United States District Judge
